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                  EXHIBIT G
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September 18, 2023                                                 Tel +1 202 639 6015
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BY OVERNIGHT DELIVERY

The Honorable Merrick Garland
Attorney General of the United States

The Honorable Lisa Monaco
Deputy Attorney General

The Honorable Vanita Gupta
Associate Attorney General

United States Department of Justice
950 Pennsylvania Avenue, N.W.
Washington, D.C. 20530

          Re:     Request of the Cayuga Nation for Tribal Consultation with the Department
                  of Justice

Dear Attorney General Garland, Deputy Attorney General Monaco, and Associate Attorney
General Gupta:

        Pursuant to DOJ Policy Statement 0300.01 regarding Tribal Consultation (approved Nov.
30, 2022), the Cayuga Nation—a federally recognized Indian nation located in New York—
requests a Tribal Consultation with the Department of Justice regarding the refusal of senior DOJ
officials to meet with the Federal Representative of the Cayuga Nation, formally recognized as
such by the United States Department of the Interior.

        Specifically, The Honorable Trini E. Ross, the United States Attorney for the Western
District of New York, has refused to meet with Clint Halftown, the Cayuga Nation’s Federal
Representative. In making that decision, the Cayuga Nation believes that Ms. Ross has been
advised by other DOJ officials, including Tracy Toulou, the Director of the Office of Tribal
Justice. In refusing to meet, Ms. Ross has declared that there is a leadership dispute within the
Cayuga Nation. However, the Department of the Interior has repeatedly made clear, including in
a federal decision issued March 29, 2023: “On July 13, 2017, the Acting Assistant Secretary for
Indian Affairs issued a final agency decision recognizing the Halftown Council as the legitimate
Cayuga Nation government.” Letter Decision issued by Bryan Newland, Assistant Secretary–



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Indian Affairs, to the Honorable Clint Halftown, Federal Representative, Cayuga Nation, at 3
(Mar. 29, 2023) (attached as Exhibit A, without enclosures).

        The position taken by Ms. Ross places the Department of Justice directly at odds with the
Department of the Interior, regarding a fundamental issue of Tribal relations: what governing
authority of a sovereign Indian nation does the United States recognize and respect? For the
Cayuga Nation, the Department of the Interior recognizes and respects the Cayuga Nation
Council led by Clint Halftown; yet the Department of Justice, acting through senior DOJ
officials, does not. With regard to issues of this kind, however, it is the Secretary of Interior who
is expressly charged by Congress with responsibility for “the management of all Indian affairs
and of all matters arising out of Indian relations.” 25 U.S.C. § 2.

       Because the Cayuga Nation requests a Tribal Consultation to discuss DOJ policy that
appears to be established by Ms. Ross and Mr. Toulou, the Cayuga Nation requests to meet with
DOJ officials other than (or at least in addition to) Ms. Ross and Mr. Toulou.

         The refusal of senior DOJ officials to meet with Tribal leaders formally recognized by the
Department of the Interior is in direct contravention of this Administration’s stated policy. The
White House announced on November 30, 2022: “Since taking office, President Biden has
prioritized relationships with Tribal Nations that are built on respect for Tribal sovereignty and
self-governance, honoring federal trust and treaty responsibilities, protecting Tribal homelands,
and conducting regular, meaningful, and robust consultation.” The White House, “Biden-Harris
Administration Announces New Actions to Support Indian Country and Native Communities
Ahead of the Administration’s Second Tribal Nations Summit” (Nov. 30, 20220).

         There is nothing more demeaning to Tribal sovereignty and self-governance than for the
Department of Justice to refuse to meet with the Tribal leaders chosen by the people of a Tribal
Nation, as formally recognized by the Department of the Interior. And there is a practical impact
of this refusal of Ms. Ross to meet with Tribal officials to coordinate on the safety and security
of the Tribal community. Given the overlap of criminal jurisdiction on the Cayuga Nation
reservation between the Cayuga Nation and the United States, an already challenging public
safety environment is made far worse without proper coordination with federal authorities.

       Further information is provided below. The Cayuga Nation looks forward to meeting
with appropriate officials of the Department of Justice at your earliest convenience.

Resolution of Cayuga Nation Leadership Dispute as Recognized by Interior

       The governing body of the Cayuga Nation is the Cayuga Nation Council. In 2005,
the Council split over disputes concerning gaming and a potential settlement of the Nation’s
longstanding land claim against New York.
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       At the time, the Cayuga Nation Council consisted of six members. Ultimately, three of
those members aligned on one side of the split and three on the other. The federal government
attempted to mediate the dispute on several occasions, without success.

        In 2016, to address a decade-long impasse, Clint Halftown and other Council members
proposed to take the leadership dispute directly to the Cayuga people. The Halftown Council
requested and received assistance from the BIA’s Division of Tribal Government Services. The
BIA ensured that the opposition group (which it referred to as the Jacobs Council) was aware of
the internal Tribal governance process and had the opportunity to participate. And the
opposition group did participate—the Jacobs Council sent a letter to all adult Cayuga members,
urging them to reject the Halftown Council and a written statement of Cayuga Nation
governance principles submitted by the Halftown Council.

        Ultimately, over 60 percent of all adult Cayuga members chose to recognize the Halftown
Council as the Cayuga Nation’s rightful government and to support the written statement of
Cayuga Nation governance principles. The BIA reviewed and verified the results. The BIA
invited both sides to submit briefs addressing whether the governance process had been
conducted in accordance with Cayuga law. Both sides did so. The BIA determined that the
Cayuga people had validly resolved the leadership dispute in accordance with Cayuga law, and
that the United States would recognize the Halftown Council as the authorized government of the
Cayuga Nation. A copy of the BIA’s 2016 decision is attached as Exhibit B.

       The Jacobs group appealed the BIA decision to the Interior Board of Indian Appeals and
the Assistant Secretary–Indian Affairs took responsibility for the appeal. Again, both sides
submitted extensive briefs in support of their respective positions. In July 2017, the Assistant
Secretary issued a lengthy, final decision for the Department, affirming the BIA determination.
A copy of the Department of the Interior’s final decision is attached as Exhibit C.

       The Jacobs group challenged Interior’s decision in federal court, which affirmed in a
published decision. Cayuga Nation v. Bernhardt, 374 F. Supp. 3d 1 (D.D.C. 2019), attached as
Exhibit D. The Jacobs group did not appeal this decision.

        Later, then Assistant Secretary–Indian Affairs Tara Sweeney reaffirmed that the United
States recognizes the Halftown Council “as the [Cayuga] Nation’s governing body without
qualification” and that the “Halftown Council is the Nation’s government for all purposes.”
A copy of Ms. Sweeney’s November 2019 letter is attached as Exhibit E. And as stated above,
Interior again confirmed in a March 2023 decision (which accepted certain Cayuga Nation lands
into trust) that the Halftown Council is the Nation’s government recognized by the United States.

Contrary Position Taken by United States Attorney Ross

       Despite the clear and consistent position of the Department of the Interior, DOJ officials
have asserted that the Cayuga leadership dispute has not been resolved, to this day. In doing so,
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these senior DOJ officials have never addressed the 2016 Cayuga governance process or
explained why DOJ—contrary to both Interior and a federal district court—has rejected it.

        The issue arose for a time within the FBI, although the FBI later reversed course. Like
many other Indian nations, the Cayuga Nation maintains a Tribal police force, which requested
access to the FBI’s Criminal Justice Information System (“CJIS”) databases. See 28 U.S.C.
§ 534(d). The FBI initially denied the Nation’s application on the ground that “a leadership
dispute still exists within the Nation.” Letter Decision from Trudy Lou Ford, FBI Criminal
Justice Information Services Division at 3 (Feb. 4, 2021) (attached as Exhibit F). The Cayuga
Nation challenged that decision in federal court, and the court reversed it. Cayuga Nation v.
United States, 594 F. Supp.3d 64 (D.D.C. 2022). The FBI then approved access to CJIS
databases for the Nation.

       Unfortunately, the United States Attorney for the Western District of New York—
advised by other DOJ officials, the Cayuga Nation believes, including Mr. Toulou—continues to
maintain there is still a leadership dispute within the Cayuga Nation and therefore is refusing to
meet with the Nation’s Federal Representative.

        It is typical for Tribal nations to consult with the United States Attorney whose district
encompasses the Tribal nation’s lands. There often are complex issues of federal, state, and
Tribal jurisdiction with regard to Tribal lands, and it is important for there to be a means of
dialogue between a Tribal nation and local federal officials. The complicated jurisdictional
landscape is one of the reasons why American Indians generally, and Indigenous women and
girls specifically, experience the highest rates of violent crime. This is one of the reasons
Attorney General Garland has teamed up with Secretary of the Interior Deb Haaland to address
violence against Indigenous women and girls and the phenomena of Missing and Murdered
Indigenous Women. See, e.g., https://www.doi.gov/priorities/strengthening-indian-country/not-
invisible-act-commission; https://www.justice.gov/opa/pr/deputy-attorney-general-lisa-monaco-
and-secretary-deb-haaland-meet-not-invisible-act. Ms. Ross’s steadfast refusal to meet with the
Cayuga Nation leadership as recognized by the Secretary of the Interior undermines the ability to
address this and other public safety issues.

      As pertinent here, the Cayuga Nation has a reservation in New York—recognized by the
Department of the Interior, DOJ, federal courts, and New York state courts—that exists in both
Cayuga County, New York (which lies in the federal Northern District of New York) and Seneca
County, New York (which lies in the federal Western District of New York).

        On November 9, 2021, shortly after Ms. Ross was confirmed as United States Attorney
for the Western District of New York, the Cayuga Nation congratulated her appointment and
requested an opportunity for her to meet with Mr. Halftown, the Nation’s Federal Representative.
Ms. Ross initially responded favorably, but then changed her position, stating that “it has come
to my attention that there are two groups within the Cayuga Nation claiming to be the leaders of
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the Nation,” and that “[a]s I work through this critical issue, I am unable to meet with either
group... nor can I support either groups efforts.” Email Correspondence from T.Ross (Jan. 7,
2022), attached as Exhibit G.

        Counsel for the Cayuga Nation immediately provided Ms. Ross the decision of the BIA,
the final decision of the Department of the Interior, the decision of the United States District
Court, and the letter from Assistant Secretary Sweeney described above. Despite receiving these
materials, Ms. Ross responded that “I cannot grant your request to meet at this time.” Email
Correspondence from T.Ross (Feb. 6, 2022), attached as Exhibit H. Ms. Ross did not provide
any further explanation for her decision.

        After the FBI reversed its position as described above, the Deputy Superintendent of the
Cayuga Nation Police Department—who previously had served over 23 years with the FBI—
requested to meet with the Law Enforcement Coordinator in Ms. Ross’s office. The Law
Enforcement Coordinator recently responded, however, that “[t]he guidance from my office is
not to meet with you at this time” and that “[o]ur meeting could be misconstrued that we are
taking sides in the situation, we cannot meet with either side until there is clarification of
leadership in the Cayuga’s.” Email correspondence from S.Palmiere (Jun. 2, 2023), attached as
Exhibit I.

       It is intolerable that it is the policy of the Department of Justice to refuse to meet with the
Federal Representative and other officials of the Cayuga Nation formally recognized by the
Department of the Interior. Pursuant to DOJ Policy Statement 0300.01, the Cayuga Nation
requests a Tribal Consultation regarding this DOJ policy, which has significant impacts on the
Cayuga Nation.

                                               Sincerely,


                                               David W. DeBruin
                                               Counsel for the Cayuga Nation

cc:    Clint Halftown
       Federal Representative
       Cayuga Nation
